Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 1 of 25 PageID #: 1277



                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISON


  BACKPAGE.COM, LLC,                                )
                                                    )
                     Plaintiff,                     )
                                                    )
  v.                                                ) Case No. 4:17-CV-01951-PLC
                                                    )
  JOSHUA D. HAWLEY, in his official                 )
  capacity as Attorney General of the               )
  State of Missouri,                                )
                                                    )
                     Defendant.
                                                    )

      NON-PARTY RESPONDENT DAVIS WRIGHT TREMAINE LLP’S
 MEMORANDUM IN OPPOSITION TO DEFENDANT’S MOTION FOR SANCTIONS

       Defendant’s motion for sanctions (“Motion”) against the law firm of Davis Wright

Tremaine LLP (“DWT”) is not just legally and factually baseless; it is an affront to our adversary
                 1
system of law.        The Attorney General asks this Court to impose sanctions against DWT, a

prominent international law firm, under the Court’s inherent authority and 28 U.S.C. § 1927, based

(1) on plea agreements entered on April 5, 2018 by Carl Ferrer (former CEO of Backpage.com,

LLC (“Backpage”)) on behalf of himself and Backpage, and (2) on certain purported “red flags”

that, the Attorney General claims, suggest that Backpage’s “lawsuit against the Attorney General

was based on false statements and was calculated to mislead this Court and impede a lawful

investigation.” (Mot. at 1.)

       The Attorney General’s arguments lack the slightest foundation in law, are factually

bankrupt, and his Motion should be denied without further proceedings. His theory for awarding



   1
     After spending the majority of his brief (pages 1-16) discussing proposed sanctions against
Backpage.com (“Backpage”), Attorney General Hawley seeks sanctions against DWT (pages 16-24).



                                                1
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 2 of 25 PageID #: 1278



sanctions threatens the very nature of our adversarial system because, if successful, any attorney

could be sanctioned if his client denies the allegations in sworn statements during the attorney’s

representation but later changes his position in a negotiated plea agreement.

        In this case, DWT asserted well-established legal positions, upheld by numerous decisions

across the country and supported by numerous sworn statements from Mr. Ferrer. However, after

Mr. Ferrer reached a plea deal and agreed to plead guilty on behalf of himself and the company,

the Attorney General is seeking sanctions against DWT for professionally and vigorously

representing a client that the Attorney General deems unsavory.

        The Attorney General’s Motion sets forth no legal rationale that could support sanctions
               2
against DWT.       It cites no relevant authority and the Motion does nothing more than rehash

arguments made earlier in this litigation. Backpage’s complaint (and motions for preliminary

injunction) appropriately challenged the Attorney General’s broad civil investigative demand

(“CID”) and threats to prosecute under the Missouri Merchandising Practices Act, RSMo. §

407.010, et seq. (“MMPA”) for publishing third-party content on Backpage.com because the

Attorney General’s actions violated rights and immunities prescribed by the Communications

Decency Act, 47 U.S.C. § 230 (“Section 230” or “CDA”) and the U.S. Constitution. Backpage’s

lawsuit and challenge to the Attorney General’s investigation was strongly supported by the First

Amendment and Section 230 of the CDA, and by hundreds of decisions holding that Section 230

preempts state-law civil and criminal claims against websites and publishers based on content

created by third parties. See Hill v. StubHub, Inc., 727 S.E.2d 550, 558 (N.C. Ct. App. 2012)

(noting that as of 2012 there have been over 300 reported federal and state lower court decisions


    2
     This Motion is essentially a copy-cat of a Motion for Sanctions filed in Backpage.com, LLC v. Dart,
Case No. 15-cv-06340 (N.D. Ill.) by the Cook County, Illinois Sheriff, which is fully briefed and awaiting
decision.


                                                    2
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 3 of 25 PageID #: 1279



addressing immunity claims advanced under Section 230 and “[a]ll but a handful of these decisions

find that the website is entitled to immunity from liability”); (see also Compl. at ¶ 2.) The well-

established body of law supporting the position DWT advocated includes a decision from Judge

Mummert in this district in M.A. ex rel. P.K. v. Village Voice Media Holdings, LLC, 809 F. Supp.

2d 1041 (E.D. Mo. 2011) (holding that claims were foreclosed by Section 230 despite allegations

that Backpage’s structure and operation, alleged knowledge of misuse of the website for illegal

activity, or exercise of editorial functions to screen and prevent improper content, somehow could

establish culpability).

        The Attorney General’s Motion is based on nothing more than speculation and innuendo.

The sole bases for the Attorney General’s argument are (1) to pit Mr. Ferrer’s statements in the

April 2018 plea deals against assertions made earlier in this litigation (which were supported by

repeated sworn statements of Mr. Ferrer and from Backpage’s general counsel), and (2) to raise

again the same arguments and accusations the Attorney General asserted before, now saying that

they constitute “red flags” that sworn statements were untrue while others’ accusations and

arguments – which courts have uniformly rejected for more than six years – were valid. Indeed,

the so-called “red flags” are little more than pejorative descriptions of legally appropriate actions

taken in other cases (like resisting overbroad subpoenas from the U.S. Senate and successfully

defending against criminal charges in California). Whatever may have precipitated Mr. Ferrer’s

decision to cut a deal, the fact that the April 5, 2018 plea agreements differ from Mr. Ferrer’s

numerous earlier sworn statements, provides no basis for imposing sanctions on DWT. The

Attorney General provides only speculation to assert that DWT did not “engage in a thorough

investigation before filing its vexatious lawsuit.” (Mot. at 17.) This falls far short of what is




                                                 3
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 4 of 25 PageID #: 1280



                                       3
required even to suggest sanctions.

        In sum, because the Attorney General does not come close to showing that counsel acted

vexatiously or with the requisite bad faith, this Motion is unsupported by the law and does not

meet the standards in this Court and the Eighth Circuit to impose sanctions on counsel.

                                     FACTUAL BACKGROUND

        Backpage.com, LLC operated as an online-classified advertising service through which

users in all 50 states were able to post ads in a variety of categories, including local places,
                                                                                  4
buy/sell/trade, automotive, rentals, real estate, jobs, dating, and services. (Compl. at ¶¶ 17-20.)

Until January 9, 2017, the Backpage.com website also included an adult category, which had

several subcategories, including one for escorts as well as numerous other lawful services (such as

strip clubs and exotic dancers). (Id. at ¶ 20.)

        For more than eight years, certain politicians, including state attorneys general, targeted

and tried to censor online-classified advertising sites. (Id. at ¶¶ 24-27.) For example, in September

2010, several state attorneys general, including Chris Koster, the former Attorney General of

Missouri, began a campaign to shut down Backpage’s adult advertising category. (Dkt. 14, Ex.

H.) In 2013, the National Association of Attorneys General (“NAAG”), acknowledging that

federal courts have interpreted Section 230 to prevent state and local law enforcement agencies

from pursuing or investigating Backpage for state-law civil or criminal claims, sent a letter to




    3
       Under Rule 4-1.6(b)(3) of the Missouri Supreme Court Rules, an attorney may use privileged
communications in defense of a claim challenging the attorney’s conduct. See E.D. Mo. L.R. 12.02. DWT
is not using privileged information in response to the Motion at this time; it is unnecessary because Attorney
General Hawley has established no basis for the Motion under the law or the facts. However, DWT
respectfully reserves all its rights, including rights under Rule 4-1.6(b)(3).
    4
     As of April 6, 2018, the Backpage.com website was seized and disabled by the United States
government.


                                                      4
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 5 of 25 PageID #: 1281



Congress advocating for an amendment to Section 230. (Id., Exs. E, J.) Despite repeated efforts

by state legislatures and state attorneys general to censor Backpage.com, courts across the country

consistently held that the ads in Backpage’s adult section are protected by the First Amendment,

that the sale of online advertising is a lawful activity, and that Backpage’s actions as an online
                                                                                         5
publisher were protected under Section 230 of the Communications Decency Act.

        In April 2017, the Attorney General instituted an investigation of Backpage by issuing

press statements before contacting Backpage or serving a CID on Backpage. (Dkt. 12 at 14.) On

May 10, 2017, the Attorney General’s office served a CID on Backpage and Mr. Ferrer purporting

to investigate Backpage for the content of users’ ads, but asserting that the Attorney General was

not investigating the advertisers responsible for the content. (See Dkt. 14, Ex. A.) The CID

demanded a broad scope of information on operations, policies and practices of Backpage for a

seven-year period with no explanation for this breadth or how it had anything to do with the

MMPA’s proscriptions concerning consumer practices. (See id.) The CID also provided that it

would “be subject to disclosure to other state and federal law enforcement agencies pursuant to an

information sharing agreement,” (id.) despite that the MMPA prohibits such disclosure. See

RSMo. § 407.060.1.

        The CID probed activities that are constitutionally and statutorily protected – Backpage’s

publication, review, and screening of ads. (See Dkt. 12 at 12.) On July 7, 2017, Backpage and

Mr. Ferrer timely responded and objected to the CID on behalf of themselves and all other putative



    5
      See, e.g., Doe ex rel. Roe v. Backpage.com, LLC, 104 F. Supp. 3d 149, 156 (D. Mass. 2015), aff’d sub
nom. Jane Doe No. 1 v. Backpage.com, LLC 817 F.3d 12, (1st Cir. 2016), cert. denied, 137 S. Ct. 622 (2017);
Backpage.com, LLC v. Dart, 807 F.3d 229 (7th Cir. 2015), cert. denied, 137 S. Ct. 46 (2016); M.A., 809 F.
Supp. 2d at 1041. See also Backpage.com, LLC v. McKenna, 881 F. Supp. 2d 1262 (W.D. Wash. 2012);
Backpage.com, LLC v. Hoffman, 2013 WL 4502097 (D.N.J. Aug. 20, 2013); Backpage.com, LLC v.
Cooper, 939 F. Supp. 2d 805 (M.D. Tenn. 2013); California v. Ferrer, No. 16FE019224, 2016 WL 7237305
(Cal. Super. Ct. 2016).


                                                    5
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 6 of 25 PageID #: 1282



“Subjects” of the CID. (Dkt. 14, Ex. O.) On July 11, 2017, Backpage filed suit in this Court to

protect its and its users’ federal statutory and constitutional rights. (See Compl.) On July 27, 2017,

Backpage moved for a preliminary injunction (Dkt. 12) supported by the declaration of Elizabeth
                                                           6
McDougall, the General Counsel of Backpage (Dkt. 13.) In support of the motion for preliminary

injunction (Dkt. 12), Ms. McDougall stated, among other things:

                “Backpage.com provides users with an automated interface through which they
                 can create and post an advertisement. The interface provides open-text fields into
                 which users must enter their own content for the title and description of the
                 advertisement. . . . Backpage does not require any specific content in ads.
                 However, users are required to provide an email address to Backpage in order to
                 post to the website.” (Ex. A at ¶ 7.)

                “Backpage expressly prohibits illegal content and activity on its site. Users must
                 affirmatively agree to Terms of Use and any applicable Posting Rules for a
                 particular category before posting an ad.               Among other prohibitions,
                 Backpage.com’s Terms of Use prohibit ads for illegal services or posting ‘any
                 material . . . that in any way constitutes or assists in human trafficking’ or ‘any
                 solicitation . . . for any illegal service exchanging sexual favors for money or other
                 valuable consideration.’” (Id. at ¶ 8.)

Ms. McDougall also noted that Backpage.com includes hyperlinks to a “Safety” page, which

includes phone numbers and links for the National Center for Missing and Exploited Children and

other law enforcement and support resource centers (id. at ¶ 9); Backpage employed monitoring

in an effort to prevent and remove improper user posts, including using automated filters to scan

and bar content based on potentially inappropriate terms and employing human moderators to

manually review ads and to block or remove content that violates the website’s terms (id. at ¶ 10);

Backpage works with law enforcement officials to preserve evidence, provide testimony, and

remove posts and block users at the request of officials (id. at ¶ 11).


   6
      Elizabeth McDougall was general counsel for Backpage (f/k/a Village Voice Media LLC) since 2012.
Prior to that, Ms. McDougall practiced law at Perkins Coie LLP for three years. She graduated from New
York University School of Law and has been licensed to practice law since 1993. Her declaration filed in
this case (Dkt. 13) has been attached without exhibits as Exhibit A.



                                                   6
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 7 of 25 PageID #: 1283



        Ms. McDougall’s declaration is entirely consistent with sworn statements Mr. Ferrer made
                                                                                           7
repeatedly in cases around the country in which DWT served as counsel for Backpage. Mr. Ferrer

also averred that users provided all content for ads they posted on the website and that Backpage

had long imposed and enforced rules to prevent improper content or misuse of the site, including

Backpage.com reviewing and screening ads to prevent improper conduct. (Ex. E at ¶ 10.) He

explained that the website used automated filters and retained upwards of 100 individuals who

acted as moderators to screen and block ads. (Id. at ¶ 14.) He emphasized Backpage.com’s

extensive efforts to work with law enforcement officials to prevent misuse of the website and his

and Backpage’s efforts to cooperate with law enforcement to investigate and prosecute individuals

who did misuse the site. (Id. at ¶¶ 16-17.)

        During this litigation, Attorney General Hawley signed a NAAG letter to Congress again

urging it to amend Section 230 because “courts have interpreted [the law] to render state and local

authorities unable to take action against . . . Backpage.com.” (Dkt. 35, Ex. A at 1-2.) The letter

urged Congress to amend Section 230(e)(1) to exempt from immunity all “State, or Territorial”

criminal statutes. (Id. at 5-6.)

        On August 1, 2017, the Attorney General moved to dismiss the Complaint for lack of

jurisdiction under Younger v. Harris, 401 U.S. 37 (1971). (Dkt. 21; Dkt. 34.) On November 28,

2017, this Court granted Defendant’s motion. (Dkt. 59.) In making its decision, the Court did not



    7
      Some of these declarations (without exhibits) are attached as Exhibits B through E including Mr.
Ferrer’s declarations from Backpage.com, LLC v. McKenna, No. 2:12-00954-RSM (W.D. Wash.) (filed on
June 4, 2012) (Ex. B); Backpage.com, LLC v. Cooper, No. 3:12-cv-00654 (M.D. Tenn.) (filed on June 27,
2012) (Ex. C); Backpage.com, LLC v. Hoffman, No. 2:13-cv-03952-DMC (D.N.J.) (filed on June 26, 2013)
(Ex. D); and Backpage v. Dart, No. 1:15-cv-06340 (N.D. Ill.) (filed on July 21, 2015) (Ex. E). Mr. Ferrer
filed similar declarations in two other actions, Backpage.com, LLC v. Healey, No. 16-CV-10236-ADB-
SEALED (D. Mass.) (filed on Feb. 4, 2015); In re Subpoenas to Produce Documents to Grand Jury Nos.
15823 and 16093, No. GJ12-172 (W.D. Wash.) (filed on June 27, 2012).



                                                   7
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 8 of 25 PageID #: 1284



address the substantive arguments in Backpage’s complaint or motion for preliminary injunction.

On December 27, 2017, Backpage appealed the Court’s Younger dismissal and filed its opening

appellate brief on March 6, 2018. (See Mot., Ex. C.) On April 16, 2018, the Attorney General

filed his appellate brief. DWT withdrew from representation of Backpage after Mr. Ferrer’s guilty

pleas, Backpage did not file a reply brief, and the Eighth Circuit dismissed the appeal based on

Backpage’s failure to prosecute.

        On April 5, 2018, in a federal criminal action in Arizona, Mr. Ferrer signed a plea

agreement on behalf of Backpage.com, LLC and other corporate entities controlled by Mr. Ferrer

to one count of money laundering (18 U.S.C. § 1956(h)). (Id., Ex. A.) On April 9, 2018,
                                                                                                   8
Backpage.com, LLC pled guilty in Texas state court to one count of human trafficking. (Id., Ex.

B.) On May 9, 2018, DWT and Thompson Coburn moved to withdraw from representation in this

action and in Backpage’s pending appeal before the Eighth Circuit. (Dkt. 68.) On July 10, 2018,

this Court granted DWT and Thompson Coburn’s motion to withdraw. (Dkt. 69.) On July 16,
                                                                                               9
2018, the Attorney General filed this Motion against Backpage and DWT. (Dkt. 73.)



    8
     Neither DWT nor Thompson Coburn was counsel to Mr. Ferrer or Backpage in connection with these
plea agreements.
    9
      DWT has over 40 years of experience litigating the constitutionality of restrictions on advertising and
First Amendment matters. Commercial Speech & Advertising, DAVIS WRIGHT TREMAINE LLP,
https://www.dwt.com/practices/CommercialSpeechAdvertising/ (last visited July 31, 2018). DWT has
“been active in case after case across the country promoting First Amendment protections for commercial
speech.” Id. DWT has been recognized for its success in defending “free speech rights online for multiple
clients” and “affirming the breadth of immunity protections in Section 230 of the Communications Decency
Act.” Law360 Names Davis Wright Tremaine’s Media & Entertainment Team a “Practice Group of the
Year, DAVIS WRIGHT TREMAINE LLP, https://www.dwt.com/Law360-Names-Davis-Wright-Tremaines-
Media--Entertainment-Team-a-Practice-Group-of-the-Year-01-26-2017/ (last visited July 31, 2018). In
May 2017, DWT received the Freedom of the Press award, issued by the Reporters Committee for Freedom
of the Press, citing the firm’s “unceasing dedication to the First Amendment.” https://www.dwt.com/Davis-
Wright-Tremaines-Media-and-First-Amendment-Team-Honored-Reporters-Committee-for-Freedom-of-
the-Press-05-24-2017/ (last visited July 31, 2018).



                                                     8
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 9 of 25 PageID #: 1285



                                              ARGUMENT

         The Attorney General’s motion for sanctions against DWT is fundamentally illegitimate.

It identifies no legal basis under which sanctions might be appropriate and asks for remedies that
                                10
are not authorized by the law.       The Motion calls for sanctions under the Court’s inherent authority

and 28 U.S.C. § 1927, but does not identify the standard for imposing sanctions pursuant to
                    11
inherent authority.      Likely the reason for this omission is that the Motion does not come close to

making legal or factual arguments that meet the demanding standards for imposing sanctions.

         The Motion’s speculative and unsupported accusations are the opposite of what the law

requires. The Supreme Court has stressed that a district court’s inherent powers “must be exercised

with restraint and discretion.” Chambers, 501 U.S. at 44-45. The Eighth Circuit in particular has

cautioned that “[t]he imposition of sanctions is a serious matter and should be approached with

circumspection.” O’Connell v. Champion Int’l Corp., 812 F.2d 393, 395 (8th Cir. 1987). Sanctions

are not appropriate unless counsel had no colorable legal or factual arguments to support their


    10
       The Attorney General seeks three types of civil sanctions against DWT: (1) a restitution fund for
Backpage’s alleged Missouri victims; (2) the Attorney General’s fees and costs; and (3) this Court’s
expenses. (Mot. at 24-25.) The restitution for the benefit of Backpage’s alleged victims is wholly
inappropriate under controlling law. (Mot. at 24.) When warranted, civil sanctions pursuant to the Court’s
inherent authority and Section 1927 are limited to fees incurred because of attorney misconduct. As the
Supreme Court recognized in Goodyear Tire & Rubber Co. v. Haeger, when a federal court exercises its
inherent authority to sanction bad-faith conduct by ordering counsel to pay the other side’s legal fees, the
award is limited to the fees the innocent party incurred solely because of the misconduct. 137 S. Ct. 1178,
1183-84 (2017); Austin v. Hanover Ins. Co., 720 F. App'x 319, 320 (8th Cir. 2018). Similarly, 28 U.S.C. §
1927 only provides for sanctions “to satisfy personally the excess costs, expenses, and attorneys’ fees
reasonably incurred because of such conduct.” Nothing in Section 1927 permits an award of restitution to
a third party. To award punitive sanctions that go further than redressing the opposing party for its fees, “a
court would need to provide procedural guarantees applicable in criminal cases, such as a ‘beyond a
reasonable doubt’ standard of proof.’” Goodyear Tire, 137 S. Ct. at 1186. The Attorney General’s lack of
any evidence and gross speculation that DWT knew or should have known about Backpage’s alleged
misconduct are insufficient under any standard, let alone the “beyond a reasonable doubt” standard.
    11
       The Motion cites only one case on this point, Chambers v. NASCO, Inc., 501 U.S. 32 (1991), which
is discussed below.



                                                      9
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 10 of 25 PageID #: 1286



claims or defenses, see Adams v. USAA Cas. Ins. Co., 863 F.3d 1069, 1083 (8th Cir. 2017), and

the court affirmatively finds that counsel acted in subjective bad faith. Gas Aggregation Servs.,

Inc. v. Howard Avista Energy, LLC, 458 F.3d 733, 739 (8th Cir. 2006).

        Similarly, the Eighth Circuit has cautioned that 28 U.S.C. § 1927 must be strictly

construed” because it “is penal in nature” and must be interpreted “so that it does not ‘dampen the

legitimate zeal of an attorney in representing his client.’” Lee v. L.B. Sales, Inc., 177 F.3d 714,

718 (8th Cir. 1999) (quoting Travelers Ins. Co. v. St. Jude Hosp. of Kenner, La., Inc., 38 F.3d

1414, 1416 (5th Cir.1994)). The Eighth Circuit has also stated that the language of Section 1927

“appears to require both a finding of objectively unreasonable behavior and a finding of bad faith.”

NAACP-Special Contribution Fund v. Atkins, 908 F.2d 336, 340 (8th Cir. 1990). Sanctions for

attorney’s fees and costs under Section 1927 require, at the very least, a finding that an attorney’s

conduct “manifest[s] either intentional or reckless disregard of the attorney’s duties to the court.”
                           12
See Lee, 177 F.3d at 718.

        The Attorney General can point to no authority that supports the imposition of sanctions

against attorneys for advancing arguments that have been accepted by numerous courts, as is the

case here. Here, the positions taken on behalf of Backpage were far more than “colorable,” they

are and have been the prevailing law under Section 230 generally for the last 30 years and as to



        12
           Under controlling case law, courts should not impose sanctions when a legal theory is plausible,
has been accepted by another judge, or is a reasonable extension of existing law. See Wolfchild v. Redwood
Cty., 24 F.3d 761 (8th Cir. 2016), cert. denied, 137 S. Ct. 447 (2016); E.E.O.C. v. Trans States Airlines,
Inc., 462 F.3d 987, 996 (8th Cir. 2006) (affirming denial of attorney’s fees under § 1927 because plaintiffs
had colorable argument in support of claims). Courts in this district have also recognized that sanctions
against counsel pursuant to the court’s inherent authority or Section 1927 are not appropriate when the
claims were legally supported and counsel did not unreasonably multiply the proceedings in a case. See,
e.g., Nelson v. Special Admin. Bd. of St. Louis Pub. Sch., No. 4:11CV00904 AGF, 2013 WL 5423104, at
*2 (E.D. Mo. Sept. 26, 2013) (denying sanctions under Section 1927); Majors v. Prof'l Credit Mgmt., Inc.,
No. 4:17-CV-00270-AGF, 2018 WL 1251914, at *2 (E.D. Mo. Mar. 12, 2018) (denying sanctions under
the court’s inherent authority and under Section 1927).


                                                    10
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 11 of 25 PageID #: 1287



Backpage.com specifically in no fewer than 10 cases in the last eight years. In Wolfchild v.

Redwood Cty., the Eighth Circuit reversed the district court’s award of sanctions pursuant to the

district court’s inherent authority, Section 1927, and Rule 11 because counsel set forth colorable

factual and legal arguments to support their claims. 824 F.3d at 761. In making its decision, the

Eighth Circuit held that the district court abused its discretion in sanctioning counsel for good-

faith arguments calling for modifications or extensions of existing law. Id. at 771. Here, the

Attorney General is seeking sanctions against counsel for making legal and factual arguments that

have been accepted by numerous courts across the country.

I.     Backpage’s Suit Was Well Grounded in Established First Amendment and
       Statutory Law.

       The Attorney General complains that DWT attorneys acted vexatiously and unreasonably

multiplied the proceedings in three ways: (1) by filing the lawsuit; (2) “forcing” the Attorney

General to respond to two motions for preliminary injunctive relief; and (3) “forc[ing] the Attorney

General to fully litigate an appeal (except for oral argument).” (Mot. at 21-22.) The Attorney

General relies primarily on Mr. Ferrer’s after-the-fact guilty plea and argues Mr. Ferrer’s position

after April 6, 2018 should be a basis for evaluating the legal and factual basis for the complaint

filed in July 2017. Not only is this logically and legally unsound, but it ignores the established

basis for the complaint under statutory law and the First Amendment.

       The Attorney General does not come close to meeting the elevated legal standard with

respect to DWT for at least three reasons:

       First, Backpage’s lawsuit challenging the CID was supported by Section 230 and hundreds

of federal court decisions broadly interpreting Section 230 to provide criminal and civil immunity

to Internet websites and publishers – like Backpage – based on content created by third parties.

(See Compl. at ¶ 2.) This precedent includes a decision in this judicial district involving Backpage.



                                                 11
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 12 of 25 PageID #: 1288



In M.A. ex rel. P.K. v. Village Voice Media Holdings, LLC, Judge Mummert held that claims were

foreclosed by Section 230 despite allegations that Backpage knew its website was misused for

illegal activity and participated in developing the content of illegal ads. 809 F. Supp. 2d at 1041.

The court also rejected the argument that Backpage’s exercise of editorial functions to screen and

prevent improper content could somehow establish culpability as a content provider. Id. at 1058.

The court explained that a website is only responsible for content if it in some way specifically

develops what is unlawful about the content. Id. at 1051. The court found that Backpage was fully

immune under Section 230 regardless of any actions to screen or edit user-submitted content, so

long as a third party willingly provides the content. Id. at 1058. Numerous subsequent decisions
                             13
reaffirmed this immunity.         Because of this long line of precedent, as a matter of law, the Attorney

General cannot make the required showing that DWT’s arguments that the Attorney General’s

CID was impermissible and preempted by Section 230 were implausible (much less that the

arguments were asserted in bad faith).

         Second, before and after this lawsuit was filed, the Missouri Attorney General’s Office

agreed that state proceedings (like the AG’s investigation here) were preempted by federal law.

(Dkt. 14, Ex. E; Dkt. 35, Ex. A at 1-2.) Two Missouri Attorneys General (including Hawley)

acknowledged that Section 230 precluded state authorities from investigating or prosecuting

websites – and Backpage.com in particular – based on third-party content, and urged Congress to

change the law. (See Dkt. 14, Ex. E; Dkt. 35, Ex. A at 1-2.) The Attorney General cannot claim

that Backpage’s lawsuit challenging the investigation was in bad faith for having offered the same

interpretation of Section 230 immunity that Attorney General Hawley (and Attorney General



   13
        See cases cited supra note 5.



                                                      12
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 13 of 25 PageID #: 1289



Koster before him) had recognized.

           Third, while the Attorney General cites a few cases that discuss awarding sanctions, he

does not point to a single case – in the Eighth Circuit or anywhere else – in which sanctions were

issued against a law firm in remotely similar circumstances. The legal positions DWT advocated
                                                                                                           14
were not merely “colorable” or “plausible” (which would have been enough) – they are the law.

II.        The Attorney General’s Efforts to Impose Sanctions on DWT are Factually
           Baseless.

           The Attorney General’s arguments are entirely based on the premise that Mr. Ferrer’s plea

agreements (accepting terms from the government in exchange for agreeing to cooperate in

prosecuting others) should be taken as true, and DWT should be charged with knowledge that his

half dozen prior sworn statements were all false. In doing so, the Attorney General ignores the

Supreme Court’s “time-honored teaching” and the federal courts’ widespread reluctance to permit

reliance on a party’s guilty plea to inculpate others because such pleas are “inherently unreliable.”

United States v. Vera, 893 F.3d 689, 692-93 (9th Cir. 2018) (quoting United States v. Pimentel-

Lopez, 859 F.3d 1134, 1144 (9th Cir. 2016) and citing Williamson v. United States, 512 U.S. 594

(1994)). As the case law recognizes, defendants signing plea agreements “may adopt facts that the

government wants to hear in exchange for some benefit, usually a lesser sentence” and are inclined

to “point[] their fingers” at others to obtain leniency. Vera 893 F.3d at 692. Here, the Attorney

General goes further, asserting that counsel in an unrelated civil case should be charged with bad

faith because of Mr. Ferrer’s post hac criminal plea deals (despite that his assertions would not



      14
       While the Attorney General seeks sanctions for having to respond to the opening appellate brief in
this matter, he ignores the fact that the appeal (and this Court’s decision dismissing the case) was based on
the applicability of the Younger abstention doctrine. Neither the dismissal order nor the appeal turned on
any alleged “false statements” in Backpage’s complaint. Accordingly, the Attorney General fails to show
(and cannot demonstrate as a matter of law) how Backpage appealing a pure legal issue was inappropriate.



                                                     13
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 14 of 25 PageID #: 1290



even be admissible against other parties).

       Attorney General Hawley’s Motion offers no evidence and nothing but aspersion and

speculation. The Attorney General speculates about what DWT “should have known” based on

Mr. Ferrer’s recent plea agreements and supposed “red flags” that Attorney General Hawley

previously identified in his Motion to Dismiss and were publicly known. (See Dkt. 21.) At bottom,

the Attorney General is arguing (without any support) that DWT should have anticipated that Mr.

Ferrer would contradict averments he has made in half-a-dozen prior cases.

       As noted, sanctions under the Court’s inherent authority or Section 1927 are not

appropriate where an attorney had colorable factual and legal arguments to support the claims.

Wolfchild, 824 F.3d at 761. “[A] claim is colorable when it has some legal and factual support,

considered in light of the reasonable beliefs of the individual making the claim.” Schlaifer Nance

& Co. v. Estate of Warhol, 194 F.3d 323, 337 (2d Cir. 1999) (citations omitted). When considering

sanctions against attorneys under the court’s inherent authority and Section 1927, “[t]he question

is whether a reasonable attorney . . . could have concluded the facts supporting the claim might be

established, not whether such facts actually had been established.” Id. (emphasis in original).

       In Schlaifer, the Second Circuit reversed the imposition of sanctions pursuant to the district

court’s inherent authority and Section 1927. Id. at 341. The district court imposed sanctions after

finding that the plaintiff’s attorneys knew or had the means of knowing there was no factual basis

for their client’s fraud claims. Id. at 337. The Second Circuit reversed, and held that the attorneys

had a colorable basis to bring the suit because they had some basis for their subjective belief in the

merits of the case. Id. at 340-41. Moreover, the Second Circuit found that the attorneys did not

act in bad faith by filing the lawsuit and permitting their client’s representative to testify despite

the fact that he had previously given contradictory testimony in a prior proceeding. Id. at 339.




                                                 14
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 15 of 25 PageID #: 1291



The court explained that even though the testimony was inconsistent, it did not demonstrate bad

faith because there was evidence supporting the initial testimony. Id. The present case presents a

far stronger reason to reject sanctions, where the client signed repeated and consistent sworn

statements in numerous cases attesting to the facts, and only later contradicted himself as part of a

plea deal.

       Attorney General Hawley’s Motion is largely founded on Mr. Ferrer’s statements in his

plea agreements. The Attorney General assumes that (1) everything said in the plea agreements

must be true, (2) everything Mr. Ferrer said in prior declarations, testimony, and elsewhere must

have been false and (3) that DWT somehow knew the prior statements were false. (See Mot. at 6-

11, 13, 19.) Mr. Ferrer’s statements in connection with his negotiated plea agreements are

inconsistent with his prior sworn testimony in certain respects, and someday he may need to answer

questions about those contradictions. Regardless, Mr. Ferrer’s recent decision to plead as he has

– and whatever may be his motivations for doing so – cannot establish that it was inappropriate

for DWT to rely on his and Backpage’s general counsel’s six-plus years of prior sworn statements.

       Attorney General Hawley alleges that DWT attorneys attempted to “mislead this court and

impede a lawful investigation” with “false statements.” (Mot. at 1.) However, the purported “false

statements” were supported by DWT’s prior six years of representing Backpage and were

supported by affidavits and sworn testimony by Mr. Ferrer and Ms. McDougall. For example, the

Attorney General argues that Backpage’s counsel misled the Court by stating that Backpage “was

not responsible for the content of any ads for illegal human trafficking on its website.” (Mot. at 2,

4-6). However, both Mr. Ferrer and Ms. McDougall repeatedly stated in this and prior proceedings

that “Backpage does not require any specific content in ads.” (Ex. A at ¶ 7; Ex. D at ¶ 4). In this

case, as well, Ms. McDougall stated that Backpage does not create the ads: “Backpage.com




                                                 15
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 16 of 25 PageID #: 1292



provides users with an automated interface through which they can create and post an

advertisement. The interface provides open-text fields into which users must enter their own

content for the title and description of the advertisement. . . .” (Ex. A at ¶ 7).

       The Attorney General further argues that Backpage’s counsel misled the Court by stating

that Backpage “never knowingly permitted illegal ads to remain on its website because it deleted

all ads for illegal human trafficking that came to its attention.” (Mot. at 2, 5-6, 19.) Again, both

Mr. Ferrer and Ms. McDougall have stated that Backpage prohibited ads for illegal services or

postings and that Backpage monitored and removed improper posts. (Ex. A at ¶ 8; Ex. D at ¶¶ 7-

8.) Indeed, Backpage’s Terms of Service expressly “prohibits illegal content and activity on its

site. Users must affirmatively agree to Terms of Use and any applicable Posting Rules for a

particular category before posting an ad.” (Ex. A at ¶ 8.) And, Ms. McDougall stated that

“Backpage personnel review reported ads and abuse emails, and evaluate the concerns and

determine appropriate action, including potentially removing or blocking content or users and/or

reporting to appropriate law enforcement authorities.” (Id. at ¶ 9.)

       The Attorney General also alleged that Backpage’s counsel misled the Court by

maintaining that Backpage “worked closely with law enforcement officials to investigate

individuals who misused its website.” (Mot. at 2, 10-11, 20.) Again, the Attorney General’s claim

is directly refuted by statements from both Mr. Ferrer and Ms. McDougall. (Ex. A at ¶ 8; Ex. D

at ¶¶ 7-8.) These statements shared many examples of communications with law enforcement in

Missouri and across the country commending Backpage’s efforts in reporting illegal activity. (Ex.

D at ¶ 11.) The lawyers at DWT had every right to rely on the consistent, sworn statements from

their client over a period of several years, and the Attorney General cites nothing to contradict that

fundamental reality of the practice of law.




                                                  16
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 17 of 25 PageID #: 1293



       Attorney General Hawley does not point to any record evidence, any extant statement of

Mr. Ferrer, or anything else that was inconsistent with positions taken by DWT in this case when

they were asserted. Instead, the Attorney General contends there were “red flags,” from which

DWT should have inferred that Mr. Ferrer was allegedly lying, and apparently, that he would later

contradict his averments. Attorney General Hawley’s attempts to cast aspersions based on his

argued inferences rather than actual evidence underscores why his Motion is improper. Implicitly

conceding that he has no evidence that DWT had any reason to believe any statements in the

Backpage litigation were false, the Attorney General states: “Even assuming that counsel did not

know its assertions on behalf of Backpage were false, counsel made those assertions in the face of

numerous red flags.” (Mot. at 17.) However, all four of the alleged “red flags” are either factually

wrong or legally irrelevant, and they provide no basis for imposition of sanctions by the Court.

       First, the Attorney General contends that DWT attorneys should have recognized that

Backpage was engaging in human trafficking activity or other actions not immunized by federal

law when Mr. Ferrer was arrested on October 6, 2016 for human trafficking charges and arrest

warrants were issued for other Backpage officials. (Id.) However, somewhat incredibly, at the

same time he improperly accuses DWT of acting in disregard of the facts, the Attorney General

fails to inform this Court that those criminal charges against Mr. Ferrer and the other Backpage

officials were dismissed on December 9, 2016 as “legally deficient under Section 230 of the

Communications Decency Act . . . and devoid of any facts that constitute public offenses under

the criminal statutes.” Ferrer, 2016 WL 7237305 at * 2 (Cal. Super. Ct. Dec. 9 2016) (emphasis

added). The Attorney General’s argument (Mot. at 17) that “probable cause” or criminal charges

should override legal theories supported by sworn facts from a client is utterly inconsistent with

the adversarial system. This is especially true when the charges are ultimately dismissed as were




                                                17
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 18 of 25 PageID #: 1294



these California charges against Mr. Ferrer. Lawyers must be able to defend their clients without

the fear of later being subjected to sanctions should they happen to lose the case and/or if the client

pleads guilty.

         Second, Attorney General Hawley claims that the December 23, 2016 indictments for

allegedly misrepresenting Backpage’s procedures to credit card companies “should have cautioned

Backpage’s counsel that they needed to conduct a thorough factual inquiry before making the

spurious allegations in this case.” (Id. at 17-18.) The Attorney General suggests – without

providing any evidence – that Backpage’s counsel failed to conduct a thorough factual inquiry

regarding the alleged credit card misrepresentations. Once again, the Attorney General’s argument

attempts to subvert the legal profession by requiring attorneys to credit allegations in indictments

over judicial rulings and six-plus years of prior sworn statements by their client. The Attorney

General – once again – fails to mention that the charges in the second indictment relating to

prostitution were dismissed on Section 230 grounds and that the court merely allowed the charges

relating to the credit card companies to proceed to trial. See California v. Ferrer, No. 16FE024013,

slip op. (Cal. Super. Ct. Aug. 23, 2017) (Ex. F.)

         Third, the Attorney General cites as a red flag the report of the U.S. Senate Permanent
                                                     15
Subcommittee of Investigations (“PSI Report”).            (Mot. at 18-19.) During the Subcommittee




    15
      In an abundance of caution, we want to make the Court aware of Jenner & Block’s earlier involvement
as counsel for amici—the DKT Liberty Project, the CATO Institute and the Reason Foundation—in support
of Backpage’s former CEO, Carl Ferrer, in Ferrer v. Permanent Subcommittee on Investigations, 856 F.3d
1080 (D.C. Cir. 2017). (Ex. G.) The Ferrer appeal arose out of subpoenas issued by the U.S. Senate
Permanent Subcommittee on Investigations to Mr. Ferrer. Jenner & Block's filing of the amicus brief in
2016 does not give rise to a conflict in this matter and does not affect DWT's response to the Motion.
Indeed, as the Court can see, the amicus brief took similar positions to those the DWT lawyers took in
vigorously defending the First Amendment rights at issue in this litigation.



                                                    18
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 19 of 25 PageID #: 1295



                                                                                         16
investigation, attorneys from DWT and Akin Gump LLP represented Backpage.                     The Attorney

General’s claim that the PSI Report demonstrates that Backpage specifically designed its website’s

operations to facilitate and conceal known criminal activity is merely a rehash of the theme dozens
                                                                                              17
of courts have rejected under Section 230 generally and as to Backpage specifically.               The same

is true for the Attorney General’s allegations that the PSI Report demonstrates Backpage created

or revised illegal ads, as this Report simply describes editorial functions that courts have repeatedly

held fall within Section 230 immunity. The Attorney General does not disclose that the Senate

Subcommittee expressly declined to receive or consider millions of pages of documents supporting
                                                    18
Backpage’s cooperation with law enforcement,             or that courts rejected the “concealment theory”

the subcommittee expounded even after the PSI report was released. Ferrer, No. 16FE024013 at

11-17 (Ex. F.)

           The Attorney General submitted the PSI Report with his Motion to Dismiss arguing that

Backpage scrubbed buzzwords from ads and then published the edited versions of those ads on its


    16
      The attorneys from Akin Gump were primarily responsible for interacting with the Subcommittee on
behalf of Backpage. Steve Ross and Stanley Brand, both of whom were formerly the general counsel to
the U.S. House of Representatives, were the Akin Gump lawyers leading the team.
    17
         See cases cited supra note 5.
    18
       The Attorney General’s argument assumes (without any basis) that everything in the PSI Report is
accurate. But the Subcommittee did not allow Backpage to submit evidence that demonstrated it cooperated
with law enforcement. PSI v. Ferrer, 199 F. Supp. 3d 125, 131-32 (D.D.C. 2016), vacated as moot, 856
F.3d 1080 (D.C. Cir. 2017) (subcommittee staff instructed counsel to “please hold off on processing or
producing what you described as more than five million pages of law enforcement subpoena related
material.”) (emphasis in original). There is a reason why such reports are often not accepted as evidence.
The trustworthiness and reliability of Congressional hearings and reports is “problematic.” Anderson v. City
of New York, 657 F. Supp. 1571, 1579 (S.D.N.Y. 1987). Courts are generally skeptical about the “evidence”
contained in Congressional reports because Congressional hearings do not offer the same procedural
protections as a court hearing and the Congressional hearings “are frequently marred” by elected officials’
political considerations that have a tendency to influence any factual findings or conclusions included in
the report. See id; see also Pearce v. E.F. Hutton Grp., Inc., 653 F. Supp. 810, 814 (D.D.C. 1987) (noting
that political considerations might affect the findings of Congressional reports).



                                                    19
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 20 of 25 PageID #: 1296



website. (Dkt. 21 at 4.) The Attorney General cites to the PSI Report again in this Motion and

argues that DWT “willfully ignored overwhelming public evidence that the assertions it was

making were false.” (Mot. at 20-21.) But, the Attorney General provides no reason for the Court

or DWT to credit the PSI Report. In fact, the portions of the PSI Report quoted by the Attorney

General are from a NAAG letter and from one of the California indictments. (See Mot. at 18.)

Thus, the PSI report is simply repeating allegations as opposed to reporting an independent finding.

Regardless, multiple courts considered the allegations regarding Backpage’s moderation practices

discussed in the PSI Report and concluded that such editorial practices are protected under Section

230. See, e.g., M.A., 809 F. Supp. 2d at 1047-55; Ferrer, No. 16FE024013 at 11-17 (Ex. F.)

       Even after the PSI Report was issued, the Attorney General’s “concealment” theory was

expressly rejected in California v. Ferrer, where the court explained that Backpage’s editorial

prerogatives “do not alter the fact the [alleged content manipulation] premises liability on the

decisions that Backpage is making as a publisher with respect to third-party content.” (Ex. F at.

14-15.) Years earlier, another court in this district rejected claims that Backpage erected a “veil of

legality” for “illegal sexual contact” ads. See M.A., 809 F. Supp. 2d at 1044, 1050. The Attorney

General provides no evidence that DWT “willfully ignored” the evidence in the Report. Rather,

DWT argued in good faith against the Report’s interpretation of Backpage’s editorial practices

before this and other courts.

       Fourth, Attorney General Hawley argues that DWT attorneys should have known about

Backpage’s alleged illegal actions through the documents published by the Washington Post on

the same day this lawsuit was filed. (Mot. at 19-20.) However, as stated in Backpage’s opposition

to the motion to dismiss, the Attorney General’s arguments regarding these documents “are based

on distorted characterizations, lack any connection to Missouri (or the United States, for that




                                                 20
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 21 of 25 PageID #: 1297



matter), and have no effect as to Section 230 immunity.” (Dkt. 34 at 24.) The Attorney General

(once again) argues that the news article reporting that Avion, an overseas contractor for Backpage,

was allegedly used to “generate . . . illegal content on Backpage’s website” confirmed that

Backpage was involved in rampant illegal conduct. (Mot. at 19.)

       As Attorney General Hawley well knows from the documents published by the Washington

Post and from Backpage’s opposition to his motion to dismiss (Dkt. 34), these allegations are

irrelevant for at least three reasons. First, Avion’s marketing concerned Backpage-affiliated

websites “outside the U.S.,” which obviously cannot form the basis for any investigation by the

Attorney General here. (Dkt. 34 at 25.) Second, the Attorney General’s theory again rests on the

same flawed premise that all adult ads are “illegal advertisements” for “illegal commercial sex.”

Id. Third, the materials the Attorney General offers do not show that Backpage or Avion ever

created any content; they show that Avion contacted individuals who had posted ads on other

websites (e.g., in the U.K. or South Africa), and offered them the opportunity to post the same ads

on a Backpage-related website, at no charge. Id. This is not content creation. See Ferrer, 2016

WL 7237305, at *3, 4, 6 (when “third parties provided the content for the original ad[s],”

republication is not content creation and is entitled to Section 230 immunity). Again, the Attorney

General has provided no evidence showing that DWT relayed alleged false statements knowing

those statements were false. DWT argued in good faith and advocated for its client against the

Attorney General’s interpretation of the Washington Post article.

       The Attorney General’s argument – that DWT should have disregarded the sworn

testimony of its client representatives on the basis of an unsubstantiated newspaper article – is

absurd and would subvert the legal profession. Lawyers have the fundamental duty to zealously




                                                21
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 22 of 25 PageID #: 1298



represent the best interests of their client. To allow a newspaper article to override a client’s sworn

testimony would be an abdication of a lawyer’s most fundamental duty.

III.   An Imposition of Sanctions Will Chill Lawyers’ Advocacy When Opposing the
       Government.

       The Attorney General’s theory for seeking sanctions undermines our adversarial system

and the legal profession. If sanctions are imposed on DWT for petitioning this Court in good faith

that its former client’s constitutional rights were being violated by the Attorney General’s actions,

there will be a chilling effect on “vigorous and ingenious advocacy, especially in matters of

controversial character” or other First Amendment litigation. See Aetna Cas. & Sur. Co. v.

Fernandez, 830 F.2d 952, 953 (8th Cir. 1987); see also Kraemer v. Grant Cnty., 892 F.2d 686,

690 (7th Cir. 1990) (reversing sanctions award and holding that sanctions cannot be allowed to

thoroughly undermine zealous advocacy); United States v. Figueroa-Arenas, 292 F.3d 276, 279

(1st Cir. 2002) (“a judge's power to sanction . . . cannot be used to chill vigorous but legitimate

advocacy”). Litigation tactics are not sanctionable so long as they are “colorable,” even if they do

not prevail. See Aetna Cas. & Sur. Co., 830 F.2d at 953. But here, where the Attorney General is

seeking sanctions against a law firm for advancing legal theories that numerous courts have

accepted, a sanctions finding would be deeply chilling.

       The Attorney General’s Motion must fail. Allowing sanctions on a litigant’s attorneys who
                                                                                             19
pursued good faith claims would handicap future claims against the government.                    Even

unsuccessful complaints should be protected because they advance some First Amendment

interests. See BE & K Const. Co. v. N.L.R.B., 536 U.S. 516 (2002). “Like successful suits,




19
   Indeed, since 2012, DWT has worked with approximately 25 of the finest law firms in the country in
representing Backpage in First Amendment cases. Merely representing an unpopular client does not subject
a law firm to sanctions.


                                                  22
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 23 of 25 PageID #: 1299



unsuccessful suits allow the public airing of disputed facts.” Id at 532 (internal citations omitted).

Moreover, unsuccessful suits “promote the evolution of the law by supporting the development of

legal theories that may not gain acceptance the first time around.” Id. But where the government

seeks to punish firms that have successfully challenged unconstitutional actions, an award of

sanctions would be a powerful weapon that could be used as a form of retaliation.

IV.    The Attorney General’s Motion for Rule 11 Sanctions is Meritless.

       The Attorney General’s final, equally baseless, argument is that if the Court denies the

current sanctions motion, the Court should allow him to file a new motion under Rule 11 without

compliance with Rule 11’s mandatory 21-day safe harbor provision. (Mot. at 23-24.) For all the

reasons stated above, no sanction of any kind is warranted. The Attorney General’s request that

the 21-day safe harbor provision be waived is equally groundless. The safe-harbor provision is

mandatory and any Rule 11 motion would be untimely because the case is over. The Eighth Circuit

requires that district courts and attorneys follow Rule 11's safe harbor provision. See Gordon v.

Unifund CCR Partners, 345 F.3d 1028, 1029-30 (8th Cir. 2003).          In Noonan v. CACH, LLC,

No.4:15-CV-1305 CAS, 2016 WL 1641405, at *3 (E.D. Mo. Apr. 26, 2016), Judge Shaw denied

a Rule 11 motion filed after the case was over and explained that courts across our country “have

uniformly denied Rule 11 motions where, as here, a motion was not filed until after the case was

dismissed.” Because the Attorney General’s request for Rule 11 sanctions against Backpage’s

attorneys has never been filed, any Rule 11 motion would be untimely and must be denied because

it would be in violation of the safe harbor provision of Rule 11. It also would be baseless.

                                          CONCLUSION

       For the foregoing reasons, this Court should deny Attorney General Hawley’s Motion for

Sanctions without any further proceedings.




                                                 23
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 24 of 25 PageID #: 1300



 Dated: August 6, 2018.                     Respectfully submitted,




                                            By: /s/ Jeffrey D. Colman
                                            Jeffrey D. Colman, 0491160IL
                                               (Pro Hac Vice)
                                            John R. Storino, 6273115IL
                                               (Pro Hac Vice)
                                            LaRue L. Robinson, #67261MO
                                            JENNER & BLOCK LLP
                                            353 N. Clark Street
                                            Chicago, IL 60654-3456
                                            +1 312 222 9350 (Telephone)
                                            +1 312 527 0484 (Facsimile)
                                            jcolman@jenner.com
                                            jstorino@jenner.com
                                            lrobinson@jenner.com


                                            Robert T. Haar #30044MO
                                            Lisa A. Pake #39397MO
                                            HAAR & WOODS, LLP
                                            1010 Market St., Suite 1620
                                            St. Louis, MO 63101
                                            314-241-2224 (Telephone)
                                            314-241-2227 (Facsimile)
                                            roberthaar@haar-woods.com
                                            lpake@haar-woods.com

                                            Attorneys for Non-Party Respondent
                                            Davis Wright Tremaine LLP




                                       24
Case: 4:17-cv-01951-PLC Doc. #: 90 Filed: 08/06/18 Page: 25 of 25 PageID #: 1301



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 6th day of August, 2018, the foregoing was

filed electronically with the Clerk of the Court to be served on all counsel of record by operation

of the Court’s CM/ECF filing system.




                                                          /s/ Jeffrey D. Colman




                                                25
